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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                             AUSTIN DIVISION

SECURITIES AND EXCHANGE COMMISSION,     §
      Plaintiff,                        §
                                        §
v.                                      §     Civil Action No. 1:13-cv-01036-LY
                                        §
ROBERT A. HELMS, JANNIECE S. KAELIN,    §
DEVEN SELLERS, ROLAND BARRERA,          §
VENDETTA ROYALTY PARTNERS, LTD.,        §
VENDETTA ROYALTY MANAGEMENT, LLC,       §
VESTA ROYALTY PARTNERS, LP,             §
VESTA ROYALTY MANAGEMENT, LLC,          §
IRON ROCK ROYALTY PARTNERS, LP,         §
IRON ROCK ROYALTY MANAGEMENT, LLC,      §
ARCADY RESOURCES, LLC,                  §
BAREFOOT MINERALS, G.P.,                §
G3 MINERALS, LLC,                       §
HALEY OIL COMPANY, INC.,                §
LAKE ROCK, LLC, SEBUD MINERALS, LLC     §
AND TECHNICOLOR MINERALS, G.P.,         §
      Defendants,                       §
                                        §
and                                     §
                                        §
WILLIAM L. BARLOW AND GLOBAL            §
CAPITAL VENTURES, LLC,                  §
      Relief Defendants.                §


                                  [PROPOSED]
          ORDER (1) APPROVING FINAL DISTRIBUTION OF ASSETS;
  (2) APPROVING FINAL PAYMENT OF FEES AND EXPENSES; (3) TURN OVER
        MONITORING OF CERTAIN JUDGMENTS AND CLAIMS TO THE
      SECURITIES AND EXCHANGE COMMISSION; (4) AUTHORIZING THE
 RECEIVER TO STORE, MAINTAIN, ABANDON OR DESTROY ALL BOOKS AND
       RECORDS OF THE RECEIVERSHIP ESTATE; AND (5) CLOSING THE
            RECEIVERSHIP AND DISCHARGING THE RECEIVER


      This Court has considered Court-appointed Receiver Thomas L. Taylor III’s (the

“Receiver”) Motion to (1) Approve Final Distribution of Assets, (2) Approve Final
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Payment of Fees and Expenses, (3) Turn Over the Monitoring of Certain Receivership

Judgments and Claims to the Securities and Exchange Commission (the “Commission”

or “SEC”) and (4) Authorize the Receiver to Store, Maintain, Abandon or Destroy all

Books and Records of the Receivership Estate; and (5) Close the Receivership and

Discharge the Receiver (the “Motion for Discharge”); and all opposition, responses or

objections thereto, if any; and having determined that the Motion is fully supported by

the written submissions, the Motion is hereby GRANTED in all respects.

       IT IS THEREFORE ORDERED that the Receiver distribute, pursuant to the

Plan of Distribution approved by this Court on August 8, 2016 (Dkt. 329), all remaining

funds held in accounts of the Receivership Estate after payment of final fees and

expenses;

       IT IS FURTHER ORDERED that the following are approved and authorized:

(i) the payment of $50,989.95 in fees and expenses incurred by The Taylor Law Offices,

P.C., (ii) the payment of $12,692.00 to Gossett PC, and (iii) the payment of $855.00 to

Hufford PC.

       IT IS FURTHER ORDERED that Staff of the SEC is authorized to monitor

monitor the collectability of the Outstanding Claims as described in the Motion for

Discharge;

       IT IS FURTHER ORDERED that the Receiver, its agents, employees, members,

officers, independent contractors, attorneys, and retained and/or appointed professionals,

and their respective agents and representatives (“Receiver Released Parties”), are

released from all claims and liabilities arising out of and/or pertaining to the Receivership


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and from all claims and liabilities that were asserted and/or could have been asserted in

the Receivership and/or in connection with the Receiver’s administration of the

Receivership, including without limitation (a) all claims for relief and causes of action

asserted in or that could have been asserted by any of the parties to this case or their

current or former counsel, and (b) all claims for relief and causes of action that could

have been asserted against the Receiver Released Parties by creditors, claimants,

consumers, consultants, experts, vendors, purchasers (actual or prospective), clients and

any other persons arising out of the Receiver’s activities or those of his professionals in

connection with the Receivership; and

         IT IS FURTHER ORDERED that, subject to completion of the foregoing final

payment of fees and expenses, final distributions to investors and disposition of books

and records, the Receivership is hereby terminated and Receiver is discharged from any

further obligation to any party under the Order Appointing Receiver (Dkt. 11) and the

Amended Order Appointing Receiver (Dkt. 76) without need of further order of this

Court.

         IT IS FURTHER ORDERED that upon termination of the Receivership as

provided herein, the Receiver is authorized to store, maintain, abandon or destroy all

books and records of the Receivership Estate under his control.




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Signed at Austin, Texas this ______ day of ______________________, 2018.




                                     ________________________________
                                     MARK LANE
                                     UNITED STATES MAGISTRATE JUDGE




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